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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

                                                    ECF CASE
 AUTHORS GUILD, DAVID BALDACCI,
 BELFRY HOLDINGS, INC., MARY BLY,
 COLUMBUS ROSE, LTD., MICHAEL                       No. 1:23-cv-08292-SHS;
 CONNELLY, SYLVIA                                   No. 1:23-cv-10211-SHS
 DAY, ELOISA JAMES, INC., JONATHAN
 FRANZEN, JOHN
 GRISHAM, HIERONYMUS, INC., ELIN                    JURY TRIAL DEMANDED
 HILDERBRAND,
 CHRISTINA BAKER KLINE, S.C.R.I.B.E.,
 INC., SPLENDIDE MENDAX, INC, SYLVIA
 DAY LLC, VICTOR LAVALLE,
 GEORGE R.R. MARTIN, JODI PICOULT,
 DOUGLAS PRESTON, ROXANA ROBINSON,
 GEORGE SAUNDERS, SCOTT TUROW, and
 RACHEL VAIL, individually and on behalf of
 others similarly situated,

                    Plaintiffs,

            v.

 OPEN AI INC., OPENAI OPCO LLC, OPENAI
 GP LLC, OPENAI, LLC, OPENAI GLOBAL
 LLC, OAI CORPORATION LLC, OPENAI
 HOLDINGS LLC, OPENAI STARTUP FUND I
 LP, OPENAI STARTUP FUND GP I LLC,
 OPENAI STARTUP FUND MANAGEMENT
 LLC, and MICROSOFT CORPORATION,

                    Defendants.


 JONATHAN ALTER, KAI BIRD, TAYLOR
 BRANCH, RICH COHEN, EUGENE LINDEN,
 DANIEL OKRENT, JULIAN SANCTON,
 HAMPTON SIDES, STACY SCHIFF, JAMES
 SHAPIRO, JIA TOLENTINO, TOUGH JEWS,
 INC., and SIMON
 WINCHESTER, on behalf of themselves and all
 others similarly situated,

                    Plaintiffs,



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             v.

 OPEN AI INC., OPENAI OPCO LLC, OPENAI
 GP LLC, OPENAI, LLC, OPENAI GLOBAL
 LLC, OAI CORPORATION LLC, OPENAI
 HOLDINGS LLC, OPENAI STARTUP FUND I
 LP, OPENAI STARTUP FUND GP I LLC,
 OPENAI STARTUP FUND MANAGEMENT
 LLC, and MICROSOFT CORPORATION,

                            Defendants.


                            AUTHOR PLAINTIFFS’ MOTION TO SEAL

            Under paragraph 25 of the Stipulated Protective Order in this case (Dkt. 338), Author

Plaintiffs respectfully seek to provisionally file under seal portions of their letter motion to

compel. The letter motion seeks a conference to discuss a discovery dispute regarding

Microsoft’s inappropriate narrowing of their document productions in response to Plaintiffs’

requests seeking financial information with regard to products that use OpenAI’s LLMs. The

Author Plaintiffs seek to file portions of this letter motion under seal because exhibits to the

motion include and discuss documents that Defendants have designated as Protected Discovery

Material under the Protective Order. Dkt. 338 ¶ 25. The Author Plaintiffs do not affirmatively

seek to seal any material. Under the Protective Order, Defendants have five business days to file

a statement of reasons for why the material should be sealed. Id. The Author Plaintiffs will

review Defendants’ filings, and if necessary, confer about any disagreement.


Dated: March 31, 2025




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                                     CERTIFICATE OF SERVICE

            I hereby certify this 31st day of March 2025, I caused a true and correct copy of the

foregoing to be electronically filed with the Clerk of the court using the CM/ECF system which

will send notification to the attorneys of record and is available for viewing and downloading.


                                                     /s/ Wesley J. Dozier




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